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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION



ELOISE LOCKHART                                          )
                                                         )   FILED: June 23, 2014
                             Plaintiff,                  )   13CV 9323
                                                         )   JUDGE DURKIN
       v.                                                )   MAG. JUDGE GILBERT
                                                         )
HSBC FINANCE CORPORATION, et al.,

                             Defendants


   PLAINTIFFS’ LOCAL RULE 56.1(A)(3) STATEMENT OF MATERIAL FACTS IN
           SUPPORT OF HER MOTION FOR SUMMARY JUDGMENT
Plaintiff Eloise Lockhart, states the following as her statement of material facts as to

which there is no genuine issue, made pursuant to Local Rule 56.1(a)(3).

                                          I      PARTIES

            1. Plaintiff Eloise Lockhart is a 58 year old person residing in Irving Texas.

               She is the Defendant and Counter-Plaintiff in a foreclosure action filed by

               defendants in September 2007, which is pending in state court.

            2. Defendant Freedman Anselmo Lindberg & Rappe (“FALR”) or “FAL” is a

               law firm located at West Diehl Road in Naperville Illinois. The law firm is

               defined as a collection which regularly collects debts which were originally

               owed to others after they have allegedly become delinquent. (AC ¶ 36),

            3. Defendant Lindberg is a managing partner in FAL the law firm, and one of

               the leaders of an enterprise consisting of all of the other defendants.
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      4. Defendant Lindberg, acting with defendant Jeffrey Pilgrim, (and the other

         defendants) directed, controlled or participated in the collection of unlawful

         debt in violation of RICO.

      5. Defendant Steven C. Lindberg acted as co- leader of an enterprise which

         was an association in fact existing separate and apart from defendants

         law practice, through which the defendants pursued( and continue to

         pursue) the collection of unlawful debt in violation of RICO.

                         II      JURISDICTION AND VENUE

      6. This court has subject matter jurisdiction over this action pursuant to 28

         U.S.C. Sect. 1331 because the claims herein arise under the laws of the

         United States, pursuant to the Racketeer Influenced and Corrupt

         Organization Act (“RICO”), 18 U.S.C. § 1964 (c) because the claims

         herein seek recovery for violations of 18 U.S.C. § 1961(6) and pursuant to

         28 U.S.C. § 1332 because the action is between citizens of different states

         and the amount in controversy exceeds $75,000, exclusive of interests

         and costs.

      7. This court is a proper venue for this action under 28 U.S.C. S 1391(a) (2)

         because a substantial part of the acts and omissions giving rise to this

         dispute occurred within this judicial district and division.

      8. Defendants FAL and attorney Steven C. Lindberg were served by certified

         mail, restricted delivery, to David J. Anselmo, who is their agent for service

         of process.
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      9. Defendants had until December 1, 2014 to Answer or otherwise plead but

         have not done so.

      10. On December 10, 2014, plaintiff filed a motion asking the court to approve

         alternative service. The court denied the motion as moot based on

         plaintiffs’ allegations that the defendants had been served, through their

         agent for service of process, in compliance with F.R.C.P. 4.

      11. Defendants are being served with copies of this Statement of Material

         Facts and the Motion for Summary Judgment, which is being filed.

                              III   STATEMENT OF FACTS

      12. On May, 26, 2005, August 5, 2005 and on September 7, 2007, Freedman

         Anselmo Lindberg & Rappe filed foreclosure law suits against Plaintiff in

         state court alleging initially (May 2005 and August 2005) that

         MERS/Household Finance 111 was the original lender and holder of the

         mortgage note which plaintiff executed on May 29, 2003 in favor of

         Fieldstone Mortgage.

      13. The Mortgage and Note attached to the foreclosure actions provided

         otherwise, stating that the lender and holder of the Note was Fieldstone

         Mortgage.

      14. The foreclosure complaints further alleged that the mortgage was

         recorded with the Recorder of Deeds for Cook County. However, the

         mortgage which plaintiff executed in favor of Fieldstone has never been

         recorded with the recorder of Deeds for Cook County, Illinois or anywhere

         else.
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      15. In July 2005, Lockhart filed a verified Answer to the complaint denying

         under oath that the mortgage was recorded with the recorder of deeds,

         that HFC III was the lender or owner of the mortgage and Note, denying

         the material allegations as to execution (as to both lots) and swearing that

         she was not in default on her mortgage obligation as alleged in the

         complaint.

      16. On about August 5, 2005, FAL filed the second foreclosure complaint (05

         CH 13290). The mortgage was still not recorded with the Recorder and

         the complaint still did not document how or when HFC III allegedly came

         into ownership of the Mortgage and Note as no assignment was attached

         to the foreclosure complaint.

      17. On May 1, 2006, while the second foreclosure was pending, Lockhart

         notified FALR (as attorney for the purported holder on the Mortgage and

         Note and Fieldstone Mortgage Corp.) that she was rescinding the loan

         because Fieldstone violated the Truth in Lending Act by failing to properly

         disclose the actual amount financed as required by 15 U.S.C. § 1605(a)

         and C.F.R. §§ 226.45 and 226.18(d) and misstating the Annual

         Percentage Rate and Finance Charge in violation of 15 U.S.C. §

         1638(a)(4) and 12 C.F.R.S 226.189(e) and C.F.R. § 226.18 (d).AC PP 250

         - 251.

      18. The charge for recording the mortgage should have been included in the

         finance charge as the money was not used to record the mortgage.

         Because it was not, the Finance Charge was understated. Misstating
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         (under stating) the finance charge gave plaintiff the right to rescind the

         loan for a period of up to three years. 15 U.S.C. § 1635.

      19. The right to rescind for up to three years, runs against the original lender

         and against any assignee of the loan. 15 U.S.C. § 1641 (c). In this case

         the assignee is alleged to be HFC III so that Lockhart has a valid claim for

         damages against HFC III, the purported assignee, and is not limited to

         proceeding against Fieldstone Mortgage which declared bankruptcy and is

         no longer in existence.

      20. In addition to the violations noted in the rescission request, the lender

         violated 12 C.F.R. § 226.19, part of Federal Reserve Board Regulation Z

         by failing to disclose the variable rate feature of the loan (or providing the

         Consumer Handbook on Adjustable Rate Mortgages required by § 226.19

         (b) and failing to disclose that the annual percentage rate ( 9.1%) in an

         irregular transaction, as defined in § 226.22, varied by more than ¼ of 1

         percentage point from the 8.7% rate which was promised at the time of the

         application.

      21. Additionally FAL admitted that Plaintiff was provided with only one federal

         Notice of Right to Cancel in a form that she could keep, instead of the two

         required by § 226.23 (b)(1).

      22. Any of the above violations trigger a three year right to cancel the loan

         whether or not the loan had been transferred from the original lender.

      23. Under 15 U.S.C. § 1635, and as more specifically set out by the Federal

         Reserve Board in Regulation Z to the Truth in Lending Act, 12 C.F.R. §
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         226.23(d)(1), HFC III had 20 days after receipt of the notice of rescission

         to return any property transferred in connection with the loan and “take

         any action necessary to reflect the termination of the security interest,” §

         226.23(d)(2) and if and when that had been completed, the consumer “

         shall tender the money or property to the creditor.”

      24. HFC III, through their attorney FAL received the notice of rescission on

         May 1, 2006 which is within three years of the May 29, 2003 closing.

         FAL through Attorney Douglas Oliver acting in conspiracy with the

         purported assignees, waited until June 1, 2006 and falsely advised

         Lockhart that she had only three days to cancel the loan, claiming that her

         right to cancel expired in June 2003.

      25. The foreclosure actions filed by FAL on behalf of HFC III and MERS

         constitute collection of unlawful debt in violation of RICO. § 1961(6)

         defines unlawful debt as follows.

                “unlawful debt means a debt (A) …which is unenforceable under
                State or Federal law in whole or in part as to principal or interest
                because of the laws relating to usury, and (B) which was incurred in
                connection with the business of lending money or a thing of value
                at a rate usurious under State or Federal law, where the usurious
                rate is at least twice the enforceable rate”.

      26. The mortgage debt was unenforceable because of the lenders violations

         of the Illinois Interest Act which is a state law relating to usury, and also

         because the servicer (HSBC Mortgage Services) violated the Interest Act

         in servicing the loan. 815 ILCS 205/4(2)(a) of the Interest Act provides. ¶¶

         238-244 AC.
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         “Whenever the rate of interest exceeds 8% per annum on any written

         contract, agreement or bond for deed providing for the installment

         purchase of real estate, or on any loan secured by a mortgage on

         residential real estate, it shall be unlawful to provide for a prepayment

         penalty.”

      27. The interest rate on Plaintiff’s loan was 9.1% and provided for a

         prepayment penalty and provided that certain other charges which are

         considered prepayment penalties, had to be prepaid. ¶ 234 ,

      28. The mortgage loan was a HOEPA loan as points and fees exceeded 8%

         of the total loan amount (15 U.S.C. § 1602(aa), which means that any

         assignee is liable for any claims which could be brought against the

         original lender. AC ¶ 226

      29. According to ¶ 248 of Plaintiff’s complaint and federal regulations

         “rescission is automatic upon the consumers’ notice”. 12 C.F.R. § 226.23

         (d)(1). “When a consumer rescinds a transaction, the security interest

         giving rise to the right of rescission becomes void and the consumer shall

         not be liable for any amount, including any finance charge.”

      30. On January 13, 2015 the U.S. Supreme Court ruled that a borrower

         exercises the right to rescind by providing written notice to the lender

         within three years of the loan transaction. See Jesinoski v. Countrywide

         Loans, Inc. 2015 WL 144681 (Jan.13, 2015).
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      31. The Court found that no law suit was required and that a borrower’s

         written notice of the intent to rescind is complete and effective upon proper

         delivery of a rescission notice.

      32. The court expressly rejected the common law rule which was advanced by

         the mortgage lenders, that a rescinding party must return what he or she

         received before rescission can be effective holding that § 1635 of the

         TILA is a statutory right which did not adopt the common law equitable

         requirement of tender.

      33. Because the loan was rescinded, defendants’ subsequent foreclosure law

         suit and other collection activities, including monthly collection notices,

         amount to collection of unlawful debt and conspiracy to collect unlawful

         debt in violation of RICO. Once the loan was rescinded, the amount of

         interest or principal which was enforceable was 0%.

      34. Additionally the loan is covered by the Home Ownership Equity Protection

         Act (“HOEPA”) which means that any assignee is liable for any claims

         which could be brought against the original lender.

      35. The state foreclosure actions instituted by FAL on behalf of HFC/MERS

         constitute collection of unlawful debt in violation of RICO.



      36. Defendants FAL and Steven C. Lindberg violated RICO by conspiring with

         HFC III and GRCB to collect an unlawful debt in violation of RICO.

      37. Defendants FAL violated the FDCPA § 812 by creating the false belief in

         Plaintiff as a consumer of mortgage products that a debt was owed to an
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         entity when in fact that entity was not owed money in violation of § 1692

         (e) including by threatening foreclosure action for a party when a debt was

         not owed to that party and threatening to take and taking legal action on

         behalf of that party that was fraudulent.

                              CERTIFICATE OF SERVICE

      I hereby certify that on March 25, 2014, I filed the attached PLAINTIFF’S

      LOCAL RULE 56.1(A)(3) STATEMENT OF MATERIAL FACTS IN SUPPORT

      OF ITS MOTION FOR SUMMARY JUDGMENT with the Clerk of the Court,

      which should automatically send a copy to all counsel of record.



                                                             Respectfully submitted,

                                                                  /s/Eloise Lockhart
                                                                             Plaintiff
